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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re:                                                         Chapter 7

CAMBRIDGE ANALYTICA LLC                                        Case No. 18-11500 (SHL)

                            Debtor. 1



                           STATEMENT OF FINANCIAL AFFAIRS FOR
                            CAMBRIDGE ANALYTICA LLC (18-11500)




1
 The last four digits of the Debtor’s taxpayer identification number is 9713 and the address of its principal place of
business is 597 5th Avenue, New York, New York 10017.


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           GLOBAL NOTES REGARDING THE DEBTOR’S SCHEDULES
     OF ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

         The above-captioned debtor (the “Debtor”) is filing its Schedules of Assets and Liabilities

(each a “Schedule” and collectively, the “Schedules”) and Statement of Financial Affairs (each,

a “SOFA” and collectively, the “Statements”) pursuant to section 521 of title 11 of the United

States Code (the “Bankruptcy Code”) and Rule 1007 of the Federal Rules of Bankruptcy

Procedures (the “Bankruptcy Rules”). These Global Notes Regarding the Debtor’s Schedules of

Assets and Liabilities and Statements of Financial Affairs, including the specific notes set forth

below with respect to the Schedules and Statement (collectively, the “Global Notes”) are

incorporated by reference in, and comprise an integral part of, each of the Debtors’ Schedules,

sub-Schedules, Statements and sub-Statements, exhibits and continuation sheets, and should be

referred to and reviewed in connection with any review of the Schedules and Statements.

Disclosure of information in one Schedule, sub-Schedule, Statement, sub-Statement, exhibit or

continuation sheet, even if incorrectly placed, shall be deemed to be disclosed in the correct

Schedule, Statement, exhibit or continuation sheet.

         The Schedules, Statements and Global Notes should not be relied upon by any person

for information relating to current or future financial conditions, events, or performance of

the Debtor.

         The Debtors’ management prepared the Schedules and Statements with the assistance of

its advisors. The Schedules and Statements are unaudited. In addition, several of the computer

servers (the “Servers”) containing the vast majority of the Debtor’s financial and other records

that were located and maintained at the London offices of the Debtor’s affiliates in the United

Kingdom (the “UK”) that are currently in administration proceedings in the UK, were seized by



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the Information Commissioner’s Office of the UK (the “ICO”) on or about March 23, 2018.

Despite its efforts, the Debtor has been unable to obtain the Servers from the ICO. Without access

to the records and information contained on the Servers, the Debtor’s ability to provide complete

and accurate Statements and Schedules has been significantly inhibited.             The Debtor’s

management and advisors have made every reasonable effort to ensure that the Schedules and

Statement are as accurate and complete as possible under the circumstances based on the

information that was available to them at the time of preparation; however, subsequent information

or discovery may result in material changes to the Schedules and Statement and inadvertent errors

or omissions may exist or have occurred. For the foregoing reasons, including the lack of access

to necessary financial and other records and the fact that the Schedules and Statements contain

unaudited information, which is subject to further review, verification and potential adjustment,

there can be no assurance that the Schedules and Statements are accurate and/or complete. The

Debtor may, but shall not be required to, update the Schedules and Statement as a result of the

discovery of any errors or omission or new information.

         The Debtor has made reasonable efforts to, among other things, identify, disclose,

characterize, classify, categorize and/or designate the claims, assets, liabilities, obligations,

transfers, payments, income, executory contracts, unexpired leases and other items reported in the

Schedules and Statements correctly. However, as discussed herein, given the lack of access to the

Servers and the records and information contained therein pertaining to the Debtor, the Debtor

may not have identified and included all of the information required by the Statements and

Schedules and may have improperly characterized, classified, categorized and/or designated one

or more of the items on the Statements and/or Schedules. In addition, certain items reported in the

Schedules and Statements could be included in more than one category. In those instances, one



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category has been chosen to avoid duplication. Further, the designation of a category is not meant

to be wholly inclusive or descriptive of the rights or obligations represented by such item.

The Debtor reserves all rights to amend the Schedules, Statements and the Global Notes from time

to time, in all respects, as may be necessary or appropriate, including, but not limited to, the right to

dispute or otherwise assert offset or defenses to any claim reflected on the Schedules and Statement

as to amount, liability or classification, or to otherwise subsequently designate any claim as

“disputed,” “contingent,” or “unliquidated.” Furthermore, nothing contained in the Schedules and

Statements or the Global Notes shall constitute an admission or waiver of rights with respect to

the Debtor’s chapter 7 case, including, without limitation, with respect to any issues involving any

causes of action arising under the provisions of chapter 5 of the Bankruptcy Code and other relevant

non-bankruptcy laws to recover assets or avoid transfers.

          1.    Description of the Cases. On May 17, 2018 (the “Petition Date”), the
                Debtor commenced a voluntary case under chapter 7 of the Bankruptcy
                Code before this Court (the “Bankruptcy Court”). On May 7, 2018,
                Salvatore LaMonica was appointed as the chapter 7 Trustee (the “Chapter
                7 Trustee”).

          2.    Methodology and Limitations.

                      a. Reporting Date. All asset and liability information, except where
                         otherwise noted, is provided as of the Petition Dates.

                      b. Basis of Presentation. The Schedules and Statement do not purport
                         to represent a financial statement prepared in accordance with
                         Generally Accepted Accounting Principles in the United States
                         (“GAAP”), nor are they intended to be fully reconciled with the
                         financial statement of the Debtor. Additionally, the Schedules and
                         Statement contain unaudited information that is subject to further
                         review and potential adjustment, and reflect the Debtor’s reasonable
                         efforts to report the assets and liabilities of the Debtor.

                      c. Confidential Information. In certain limited instances in the
                         Schedules and Statement, the Debtor has deemed it necessary and
                         appropriate to redact from the public record information such as
                         names, addresses, or amounts. The Debtor have generally used this
                         approach because of an agreement between the Debtor and a third

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                           party, concerns of confidentiality, or concerns for the privacy of an
                           individual. Copies of the unredacted information will be provided
                           to the Chapter 7 Trustee, the Office of the United States Trustee for
                           the Southern District of New York, and any parties in interest who
                           have a reasonable basis for review of such information.

                      d. Estimates and Assumptions. The preparation of the Schedules and
                         Statements required the Debtor to make estimates and assumptions
                         that affected the reported amounts of certain assets and liabilities,
                         the disclosure of certain contingent assets and liabilities and the
                         reported amounts of revenue and expense. Actual results could differ
                         materially from these estimates.

                      e. Net Book Value of Assets. The Debtor does not have current market
                         valuations for its assets. It would be prohibitively expensive, unduly
                         burdensome, and an inefficient use of estate resources for the Debtor
                         to obtain current market valuations for its assets. Wherever possible
                         or available based on the information that was in the Debtor’s
                         possession, unaudited net book values as of the Petition Date are
                         presented. When necessary, the Debtor has indicated that the value
                         of certain assets is “Unknown”. Amounts ultimately realized may
                         vary materially from net book value (or whatever value was or may
                         be ascribed). Accordingly, the Debtor reserves all rights to amend,
                         supplement, or adjust the asset values set forth in the Schedules and
                         Statement.

                      f. Unknown Amounts. The description of an amount as “Unknown”
                         is not intended to reflect upon the materiality of such amount.
                         Certain amounts may be clarified during the course of the chapter 7
                         case.
 
                      g. Totals. All totals that are included in the Schedules and Statements
                         represent totals of all known amounts based on information
                         available to the Debtor. To the extent there are unknown or
                         undetermined amounts, the actual totals may be different than the
                         listed totals.

                      h. Liabilities. Unless otherwise indicated, all liabilities are listed as of
                         the Petition Date. Some of the scheduled liabilities are unknown,
                         contingent and/or unliquidated at this time. In such cases, the
                         amounts are listed as “Unknown”. Accordingly, the Schedules and
                         Statements may not equal the aggregate value of the Debtor’s total
                         liabilities as noted on any previously issued finance statements.

                      i.   Contingent Assets and Causes of Action. Despite their reasonable
                           efforts to identify all known assets, the Debtor may not have listed
                           all of its causes of action or potential causes of action against third

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                           parties as assets in its Schedules and Statements, including, but not
                           limited to, avoidance actions arising under chapter 5 of the
                           Bankruptcy Code and actions under other relevant non-bankruptcy
                           laws to recover assets. The Debtor reserves all of their rights with
                           respect to any claims, causes of action, or avoidance actions it may
                           have, and neither these Global Notes nor the Schedules and
                           Statements shall be deemed a waiver of any such claims, causes of
                           actions, or avoidance actions or in any way prejudice or impair the
                           assertion of such claims. The Debtors may also possess contingent
                           and unliquidated claims against affiliated entities (both Debtor and
                           non-Debtor) for various financial accommodations and similar
                           benefits they have extended from time to time, including, but not
                           limited to, contingent and unliquidated claims for contribution,
                           reimbursement, and/or indemnification arising from various (i)
                           guarantees, (ii) indemnities, (iii) tax sharing agreements, (iv)
                           warranties, (v) operational and servicing agreements, (vi) shared
                           service agreements and (vii) other arrangements.

                      j.   Currency. All amounts shown in the Schedules and Statement are
                           in U.S. Dollars, unless otherwise indicated.

                      k. Estimates and Assumptions. The preparation of the Schedules and
                         Statements required the Debtor to make estimates and assumptions
                         that affected the reported amounts of certain assets and liabilities,
                         the disclosure of certain contingent assets and liabilities and the
                         reported amounts of revenue and expense. Actual results could differ
                         materially from these estimates.

                      l.   Totals. All totals that are included in the Schedules and Statements
                           represent totals of all known amounts. To the extent there are
                           unknown or undetermined amounts, the actual totals may be
                           different than the listed totals.

                      m. Asset Presentation and Valuations. The Debtor’s assets are
                         presented at values consistent with their books and records to which
                         the Debtor has access. Generally speaking, for assets that are valued
                         at fair value or the lower of cost or fair value, the Debtor valued
                         these assets using modeling techniques currently used in the industry
                         and uses market based information to the extent possible in these
                         valuations. These values do not purport to represent the ultimate
                         value that would be received in the event of a sale, and may not
                         represent economic value as determined by an appraisal or other
                         valuation technique. As it would be prohibitively expense and an
                         inefficient use of estate assets for the Debtor to obtain current
                         economic valuations for all of its assets, the carrying value on the
                         Debtor’s books, rather than current economic values is reflected on


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                         the Schedules and Statements.
 
                      n. Intercompany Transfers. The listing in the Schedules or Statement
                         by the Debtor of any obligation between a Debtor and another
                         Debtor or non-Debtor affiliate is a statement of what appears in the
                         Debtor’s books and records that are available to the Debtor, and does
                         not reflect any admission or conclusion of the Debtor regarding
                         whether such amount should be allowed as a claim or how such
                         obligations may be classified and/or characterized by the Bankruptcy
                         Court or otherwise. Moreover, given the Debtor’s lack of access to
                         the Servers containing relevant records and information, the
                         Statements and Schedules may not include a complete or accurate
                         information regarding the intercompany transactions between the
                         Debtor and any affiliate of the Debtor. To the extent the Debtor is
                         able to regain access to the Servers and reconcile the information
                         contained therein related to intercompany transactions, the Debtor
                         may amend the relevant Schedules and Statements accordingly.

                      o. Setoff. Prior to the Petition Dates, and in the ordinary course of their
                         businesses, the Debtor may have incurred setoffs in connection with,
                         among other things, intercompany and third-party transactions.
                         Unless otherwise stated, to the extent any setoffs were incurred in
                         the ordinary course or under customary practices, they are not listed
                         in the Schedules and Statements and the Debtor has not intentionally
                         offset amounts listed on Schedules A/B, D or E/F. Nonetheless,
                         some amounts listed may have been affected by setoffs of which the
                         Debtor is are not yet aware. The Debtor reserves all rights to
                         challenge any setoff and/or recoupment rights that may be asserted.

                      a. Insiders. For purposes of the Schedules and Statements, the Debtor
                         has listed its officers and directors to the extent available based on
                         current records available to the Debtor.2 Further, for purposes of the
                         Schedules and Statements, the Debtor defines insiders (in
                         accordance with in section 101(31) of the Bankruptcy Code) as the
                         Debtor’s (a) current and former directors; (b) current and former
                         senior level officers; (c) persons in control of the Debtor; (d)
                         relatives of each of the foregoing; (e) affiliates of the Debtor,
                         including equity holders holding 20% or more of the Debtor’ voting
                         securities and corporations of which the Debtor (or their major
                         equity holders) hold 20% or more of voting securities; and (f)
                         insiders of such affiliates, all to the extent known to the Debtor
                         (each, an “Insider”). Persons listed as Insiders have been included

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  On April 27, 2018, Anaxi Solutions Inc., a former subsidiary of the Debtor, merged with the Debtor, leaving the
Debtor as the surviving entity. Accordingly, for purposes of the Schedules and Statements, the Debtor has only listed
its officers and directors (and made the necessary disclosures relating thereto) and not of any entity that was merged
into the Debtor prior to the Petition Date.

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                         for information purposes only. The Debtor does not take any
                         position with respect to (a) such person’s influence over the control
                         of the Debtor; (b) the management responsibilities or functions of
                         such individual; (c) the decision-making or corporate authority of
                         such individual; or (d) whether such individual could successfully
                         argue that he or she is not an “insider” under applicable law,
                         including the federal securities laws, or with respect to any theories
                         of liability or for any other purpose.

          3.    Debtor’s Reservation of Rights. Nothing contained in the Schedules,
                Statements, or the Global Notes shall constitute an admission or waiver of
                rights with respect to this chapter 7 case, including, without limitation, any
                issues involving equitable subordination, characterization or
                recharacterization of contracts or claims, assumption or rejection of
                executory contracts or unexpired leases under the provisions of chapter 3 of
                the Bankruptcy Code and causes of action arising under the provisions of
                chapter 5 of the Bankruptcy Code or any applicable non-bankruptcy laws to
                recover assets or avoid transfers.

                      a. Any failure to designate a claim listed on the Schedules as
                         “disputed,” “contingent,” or “unliquidated” does not constitute an
                         admission by the Debtor that such amount is not “disputed,”
                         “contingent,” or “unliquidated.” The Debtor reserves the right to
                         dispute, or to assert setoff rights, counterclaims, or defenses to any
                         claim reflected on its Schedules as to the nature, amount, liability,
                         status, classification, or to amend the Schedules and Statement to
                         subsequently designate any claim as “disputed,” “contingent,” or
                         “unliquidated.”

                      b. Listing a claim on the Schedules as “secured”, “priority”, or
                         “unsecured priority”, or listing a contract or lease as “executory” or
                         “unexpired”, does not constitute an admission by the Debtor of the
                         legal rights of the claimant and/or a contractual counterparty, or a
                         waiver of the Debtor’s rights to reclassify or recharacterize such
                         claim or contract. Moreover, although the Debtor may have
                         scheduled claims of various creditors as secured claims for
                         informational purposes, no current valuation of the Debtor’s assets
                         in which such creditors may have a lien has been undertaken. The
                         Debtor reserves all rights to dispute or challenge the secured nature
                         of any such creditor’s claims or the characterization of the structure
                         of any transaction, or any document or instrument related to such
                         creditor’s claim.

                      c. The inclusion on Schedule D of any creditors that have asserted liens
                         against the Debtors is not an acknowledgement of the validity, extent
                         or priority of any such liens, and the Debtors reserve their right to
                         challenge such liens and the underlying claims on any ground

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                         whatsoever. Reference to the applicable agreements and other
                         relevant documents is necessary for a complete description of the
                         collateral and the nature, extent and priority of any liens. Nothing in
                         these Global Notes or the Schedules and Statements shall be deemed
                         a modification or interpretation of the terms of such agreements.
                         Certain liens may have been inadvertently marked as disputed but
                         had previously been acknowledged in an order of the Court as not
                         being disputed by the Debtors. It is not the Debtor’s intent that
                         Schedules be construed to supersede any orders entered by the
                         Bankruptcy Court.
 
                      a. Although the Debtor has made reasonable efforts to ensure the
                         accuracy of its Schedules and Statements, inadvertent errors,
                         omissions, or inclusions may have occurred. The Debtor reserves all
                         of its rights to dispute the validity, status, or enforceability of any
                         contracts, agreements, or leases set forth on the Schedules and
                         Statements and to amend further or supplement the Schedules and
                         Statement as necessary.

                      b. The Debtor further reserves all of its rights, claims, and causes of
                         action with respect to the contracts and agreements listed on the
                         Schedules and Statements, including the right to dispute or challenge
                         the characterization or the structure of any transaction, document, or
                         instrument related to a creditor’s claim. The placing of a contract or
                         lease onto the Schedules shall not be deemed an admission that such
                         contract is an executory contract or unexpired lease, or that it is
                         necessarily a binding, valid, and enforceable contract. The Debtor
                         expressly reserves the right to assert that any contract listed on the
                         Schedules does not constitute an executory contract within the
                         meaning of section 365 of the Bankruptcy Code.

                      c. The Debtor used its reasonable efforts to locate and identify
                         guarantees and other secondary liability claims (the “Guarantees”)
                         in their executory contracts, unexpired leases, secured financings,
                         debt instruments and other agreements. Where such Guarantees
                         have been identified, they are included in the relevant schedule. The
                         Debtor placed Guaranty obligations on Schedule H for both the
                         primary obligor and the guarantor of the relevant obligation.
                         Guarantees embedded in the Debtor’s executory contracts,
                         unexpired leases, secured financings, debt instruments and other
                         agreements may have been inadvertently omitted. Thus, the Debtor
                         reserves its rights to amend or supplement the Schedules to the
                         extent that additional Guarantees are identified. In addition, the
                         Debtor reserves the right to amend the Schedules and Statement to
                         recharacterize or reclassify any such contract or claim.

                      d. In the ordinary course of business, the Debtor leased facilities and/or

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                          equipment from certain third-party lessors for its use in its daily
                          operations. Any such leases are set forth in Schedule G. The
                          property subject to any of such leases is not reflected in either
                          Schedule A or Schedule B as either owned property or assets of the
                          Debtor. Neither is the property subject to any such leases reflected
                          in the Statements as property or assets of third-parties within the
                          control of the Debtor. Nothing in the Schedules is or shall be
                          construed as an admission or determination as to the legal status of
                          any lease (including whether any lease is a true lease or a financing
                          arrangement), and the Debtor reserves all rights with respect to any
                          such issues.

                  89.   Specific Notes Regarding the Debtor’s Schedules of Assets and Liabilities

         In addition to the foregoing, the following conventions were adopted by the Debtor in the

preparation of the Schedules and Statements:

               1. Schedule A/B.

                      a. Generally. To the extent a line item pertaining to the Debtor’s assets
                         indicates a value of “$0.00,” Debtor notes that such amount is either
                         “unknown” or “undetermined” and such “$0.00” designation does
                         not constitute an admission that assets are, in fact, valued at “$0.00.”
                         Because certain assets or liabilities are noted as “$0.00,” summary
                         line items in Schedule A/B reflect totals that may be less than the
                         ultimate value of such assets or liabilities. Furthermore, due to the
                         seizure of the Servers by the ICO, the Debtor has been unable to
                         quantify the value of certain assets included on Schedule A/B,
                         including its office furniture, fixtures, and equipment.

                      b. Schedule A/B, Items 1-9. Unless otherwise noted, the amounts
                         shown are based on closing account balances or amounts on
                         deposit/prepaid as of the Petition Date.

                      c. Schedule A/B, Item 38. The value of office furniture, fixtures,
                         equipment and collectibles is unknown on a per item basis because
                         the asset register was seized by the ICO. The net book value of all
                         fixed assets has been discounted by seventy (70%) percent to
                         estimate a current total value.

                      d. Schedule A/B, Items 60-64. The omission of any patent, trademark,
                         copyright, trade secret or other intellectual property from Schedule
                         A/B Items 60-64 does not constitute a waiver of any such patent,
                         trademark, copyright, trade secret or other intellectual property.


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                      e. Schedule A/B, Item 72. The omission of any tax refund or net
                         operating loss from Schedule A/B Item 72 does not constitute a
                         waiver of any tax refund or net operating loss.

                      f.    Schedule A/B, Items 74 and 75. The omission of any counterclaim,
                            claim, or cause of action from Schedule A/B Items 74 and 75 does
                            not constitute a waiver of any such counterclaim, claim, or cause of
                            action. As previously described, to the extent a line item pertaining
                            to the Debtor’s assets indicates a value of “$0.00,” the Debtor notes
                            that such amount is either “unknown” or “undetermined” and such
                            “$0.00” designation does not constitute an admission that assets are,
                            in fact, valued at “$0.00.”

               2. Schedule D.

                           a. Based on the information currently available to the Debtor, the
                              Debtor does not believe that there are any creditors with secured
                              claims against the Debtor. To the extent the Debtor discovers
                              that any such claims exist, the Debtor may amend the Schedule
                              D accordingly to reflect such claims.

                           b.

                           c. Except as specifically stated herein, real property lessors, utility
                              companies and other parties that may hold security deposits may
                              not have been listed on Schedule D.

                           d. The Debtor reserves all of its rights to amend Schedule D to the
                              extent that the Debtor determines that any claims associated with
                              such agreement should be reported on Schedule D. Nothing
                              herein shall be construed as an admission by the Debtor of the
                              legal rights of the claimant, deemed a modification or
                              interpretation of the terms of such agreements, or considered a
                              waiver of the Debtor’s rights to recharacterize or reclassify such
                              claim or contract.

                           e. Moreover, the Debtor has not included on Schedule D parties that
                              may believe their claims are secured through setoff rights or
                              inchoate statutory lien rights.

                           f.   Except as otherwise agreed or ordered by the Bankruptcy Court,
                                the Debtor reserves its rights to dispute or challenge the validity,
                                perfection or immunity from avoidance of any lien purported to
                                be granted or perfected in any specific asset of a secured creditor
                                of the Debtor. Moreover, the Debtor reserves all of its rights to
                                dispute or challenge the secured nature of any such creditor’s
                                claim or the characterization of the structure of any such


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                           transaction or any document or instrument related to such
                           creditor’s claim.

               3. Schedule H

                        a. The Debtors may not have identified certain guarantees
                           associated with the Debtors’ executory contracts, unexpired
                           leases, secured financings, debt instruments, and other such
                           agreements. The Debtors reserve all of their rights to amend the
                           Schedules to the extent that additional guarantees are identified
                           or such guarantees are discovered to have expired or be
                           unenforceable.
                        b. In the ordinary course of their businesses, the Debtors may be
                           involved in pending or threatened litigation. These matters may
                           involve multiple plaintiffs and defendants, some or all of whom
                           may assert cross-claims and counter-claims against other parties.
                           Because all such claims are contingent, disputed and/or
                           unliquidated, such claims have not been set forth individually on
                           Schedule H.

               4. Schedule E/F

                        a. The Debtor has used reasonable efforts to report all unsecured
                           claims against the Debtor on Schedule E/F based upon the
                           Debtor’s existing books and records that were in Debtor’s
                           possession or to which the Debtor had access as of the Petition
                           Date. The claims listed on Schedule E/F arose or were incurred
                           on various dates. In certain instances, the date on which a claim
                           arose is an open issue of fact. Although reasonable efforts have
                           been made to identify the date of incurrence of each claim,
                           determination of the date that each claim in Schedule E/F was
                           incurred or arose would be unduly burdensome and cost
                           prohibitive. Additionally, due to the seizure of the Servers by the
                           ICO, the Debtor has been unable determine the precise date that
                           certain of the claims set forth on Schedule E/F arose. Therefore,
                           while the Debtor does not list a date for each claim listed on
                           Schedule E/F, to the best of the Debtor’s knowledge, all claims
                           listed on Schedule E/F have arisen or were incurred before the
                           Petition Date.

                        b. The Debtor reserves the right to assert any such claims are
                           contingent, unliquidated and/or disputed, as applicable.

                        c. The Debtor reserves the right to assert that any claim listed on
                           Schedule E/F does not constitute a priority claim under section
                           507 of the Bankruptcy Code and thus constitutes an unsecured

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                             nonpriority claim.

                        d. Schedule E/F does not include certain balances including
                           deferred liabilities, accruals, or general reserves. Such accruals
                           primarily represent general estimates of liabilities and do not
                           represent specific claims as of the Petition Date. The Debtor has
                           made reasonable efforts to include as contingent, unliquidated
                           and/or disputed the claim of any party not included on the
                           Debtor’s open accounts payable that is associated with an account
                           that has accrual or receipt not invoiced.
 
                        e. The claims of individual creditors may not reflect credits and/or
                           allowances due from creditors to the Debtor. The Debtor reserves
                           all of its rights with respect to any such credits and/or allowances,
                           including the right to assert objections and/or setoffs with respect
                           to same.

                        f.   Schedule E/F does not include pending litigations or legal actions
                             involving the Debtor. However, these are reflected in response
                             to Question 7 in the Statements. In all instances, the amount that
                             is the subject of the litigation is uncertain or undetermined. The
                             Debtors believe that the amount of any potential claims
                             associated with any such pending litigation is contingent,
                             unliquidated, and disputed. The inclusion of any litigation in the
                             Statements or otherwise does not constitute an admission of
                             liability alleged in such litigation.

                        g. To the extent they are known, Schedule E/F represents the
                           prepetition amounts owing to counterparties to executory
                           contracts and unexpired leases. Such prepetition amounts,
                           however, may be paid in connection with the assumption or the
                           assumption and assignment of an executory contract or unexpired
                           lease. Additionally, Schedule E/F does not include potential
                           rejection damage claims, if any, of the counterparties to
                           executory contracts and unexpired leases that may be rejected.

               5. Schedule G.

        Although the Debtor’s existing records and information systems to which the
Debtor has access have been relied upon to identify and schedule executory contracts and
unexpired leases and reasonable efforts have been made to ensure the accuracy of
Schedule G, inadvertent errors or omissions may have occurred. The Debtor reserves all
rights to dispute the validity, status, or enforceability of any contracts, agreements, or
leases set forth in Schedule G and to amend or supplement Schedule G as necessary. The
contracts, agreements and leases listed therein may have expired or been modified,
amended, or supplemented from time to time by various amendments, restatement,
waivers, estoppel certificates, letters, memoranda and other documents, instruments, and

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agreements which may not be listed therein. Moreover, due to the seizure of the Servers
by the ICO, the Debtor may not have access to all of its contracts and leases and the
Schedules and Statements reflect only the contracts and leases to which the Debtor has
access.

             a. The presence of a contract or agreement on Schedule G does not constitute
                an admission as to the existence, validity or enforceability of the contract
                or agreement, or that such contract or agreement is an executory contract or
                unexpired lease, and the omission of a contract or agreement from
                Schedule G does not constitute an admission that a contract or agreement
                does not exist. The Debtor reserves all rights, claims, and causes of action
                with respect to the contracts and agreements listed on Schedule G,
                including the rights to dispute or challenge the characterization or the
                structure of any transaction document or instrument. Certain executory
                agreements may not have been memorialized in writing and could be
                subject to dispute.

             90.   Specific Notes Regarding the Debtor’s Statement of Financial Affairs

               1. Statement Question 1. The Debtor has used reasonable efforts to state the
                  revenue correctly without having access to full records due to the ICO’s
                  seizure of the Servers containing the relevant records and information
                  reflecting such information.

               2. Statement Questions 3 and 4. Due to the seizure of the Servers by the
                  ICO, for purposes of Questions 3 and 4 the Debtor has listed those payments
                  and transfers based on the records to which it has access. There may be
                  other payments and transfers made to parties or during the periods reflected
                  in these questions that are not reflected in the responses thereto because the
                  Debtor does not have access to the relevant records and information to
                  identify such payments and transfers.

               3. Statement Question 7. The Debtor has made reasonable best efforts to
                  identity all current pending litigation, investigation and other legal actions
                  involving the Debtor. However, certain omissions may have occurred. The
                  inclusion of any legal action in this question does not constitute an
                  admission by the Debtor of any liability, the validity of any litigation or the
                  amount of any potential claim that may result from any claims with respect
                  to any legal action and the amount and treatment of any potential claim
                  resulting from any legal action currently pending or that may arise in the
                  future.

               4. Statement Question 25. As noted herein, prior to the Petition Date, on
                  April 27, 2018, the former subsidiaries of the Debtor, Anaxi Solutions Inc.,
                  Cambridge Analytica Political LLC and Cambridge Analytical Commercial
                  LLC, were merged with the Debtor, with the Debtor remaining as the
                  surviving entity, and, therefore, these entities no longer exist and the Debtor

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                      had no subsidiaries as of the Petition Date. Nevertheless, out of an
                      abundance of caution the Debtor has listed these entities as entities in which
                      it had an interest.

               5. Statement Questions 28 and 29. The Debtor has made reasonable best
                  efforts to list the known current and former officers and directors of the
                  Debtor on a review of available books and records and other available
                  information which may not be complete and updated as of the Petition
                  Date. In addition, give the seizure of the Servers and the relevant records
                  contained therein, the Debtor does not have access to the information
                  necessary to provide a complete response to these questions. As such,
                  there may be inadvertent errors or omissions for the Statement in
                  Questions 28 and 29 due to these limitations.




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Fill in this information to identify the case:

             Cambridge Analytica LLC
Debtor name __________________________________________________________________
                                       Southern                               New York
United States Bankruptcy Court for the: ______________________ District of _________
                                                                              (State)
                          18-11500
Case number (If known):   _________________________



                                                                                                                                      Check if this is an
                                                                                                                                         amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                    04/16

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).


 Part 1:        Income



 1. Gross revenue from business

        None

            Identify the beginning and ending dates of the debtor’s fiscal year, which        Sources of revenue                   Gross revenue
            may be a calendar year                                                            Check all that apply                 (before deductions and
                                                                                                                                   exclusions)

           From the beginning of the                                                           ✔
                                                                                                  Operating a business
                                                01/01/2018                                                                            2,865,605
           fiscal year to filing date:     From ___________         to     Filing date            Other _______________________    $________________
                                                  MM / DD / YYYY

                                                01/01/2017                 31/12/2017
           For prior year:                 From ___________         to     ___________         
                                                                                               ✔   Operating a business               5,151,605
                                                                                                                                    $________________
                                                  MM / DD / YYYY            MM / DD / YYYY
                                                                                                  Other _______________________
                                                01/01/2016                 31/12/2016          ✔
           For the year before that:       From ___________         to     ___________            Operating a business               25,299,213
                                                                                                                                    $________________
                                                  MM / DD / YYYY            MM / DD / YYYY
                                                                                                  Other _______________________




 2. Non-business revenue
    Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
    from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.
     ✔
        None

                                                                                              Description of sources of revenue    Gross revenue from each
                                                                                                                                   source
                                                                                                                                   (before deductions and
                                                                                                                                   exclusions)

           From the beginning of the
                                                                                              ___________________________          $________________
           fiscal year to filing date: From ___________             to      Filing date
                                                  MM / DD / YYYY



           For prior year:                 From ___________         to      ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   ___________________________          $________________



           For the year before that:       From ___________         to      ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   ___________________________          $________________




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Debtor               Cambridge Analytica LLC
                    _______________________________________________________                                           18-11500
                                                                                               Case number (if known)_____________________________________
                    Name




 Part 2:        List Certain Transfers Made Before Filing for Bankruptcy

 3. Certain payments or transfers to creditors within 90 days before filing this case
    List payments or transfersincluding expense reimbursementsto any creditor, other than regular employee compensation, within 90
    days before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be
    adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None

             Creditor’s name and address                         Dates        Total amount or value         Reasons for payment or transfer
                                                                                                            Check all that apply
     3.1.
              See SOFA: Part 2, Question 3 Attachment
             __________________________________________         ________         $1,076,692.42
                                                                               $_________________                Secured debt
             Creditor’s name
                                                                                                                 Unsecured loan repayments
             __________________________________________
             Street                                             ________                                    
                                                                                                            ✔     Suppliers or vendors
             __________________________________________                                                          Services
             __________________________________________
             City                          State    ZIP Code
                                                                ________                                    
                                                                                                            ✔            Customer refund
                                                                                                                  Other _______________________________


     3.2.

             __________________________________________         ________       $_________________                Secured debt
             Creditor’s name
                                                                                                                 Unsecured loan repayments
             __________________________________________
             Street                                             ________                                         Suppliers or vendors
             __________________________________________                                                          Services
             __________________________________________
             City                          State    ZIP Code
                                                                ________                                         Other _______________________________


 4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
    List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
    guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
    $6,425. (This amount may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
    Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives;
    general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of
    the debtor. 11 U.S.C. § 101(31).

           None

             Insider’s name and address                          Dates        Total amount or value         Reasons for payment or transfer
     4.1.
              See SOFA: Part 2, Question 4 Attachment
             __________________________________________        _________        10,848,317.34
                                                                              $__________________         ___________________________________________
             Insider’s name
             __________________________________________        _________                                  ___________________________________________
             Street
             __________________________________________        _________                                  ___________________________________________
             __________________________________________
             City                          State    ZIP Code


             Relationship to debtor
             __________________________________________


     4.2.

             __________________________________________        _________      $__________________         ___________________________________________
             Insider’s name
             __________________________________________        _________                                  ___________________________________________
             Street
             __________________________________________        _________                                  ___________________________________________
             __________________________________________
             City                          State    ZIP Code



             Relationship to debtor

             __________________________________________



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                    _______________________________________________________                                                        18-11500
                                                                                                            Case number (if known)_____________________________________
                    Name




 5. Repossessions, foreclosures, and returns
     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
     sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
     
     ✔      None
            Creditor’s name and address                              Description of the property                                    Date               Value of property
     5.1.

            __________________________________________               ___________________________________________                    ______________     $___________
            Creditor’s name
            __________________________________________               ___________________________________________
            Street
            __________________________________________               ___________________________________________
            __________________________________________
            City                          State        ZIP Code

     5.2.

            __________________________________________               ___________________________________________                    _______________      $___________
            Creditor’s name
            __________________________________________               ___________________________________________
            Street
            __________________________________________               ___________________________________________
            __________________________________________
            City                          State        ZIP Code


 6. Setoffs
     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
     the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
     
     ✔      None
             Creditor’s name and address                               Description of the action creditor took                      Date action was       Amount
                                                                                                                                    taken

             __________________________________________              ___________________________________________                  _______________      $___________
             Creditor’s name
             __________________________________________              ___________________________________________
             Street
             __________________________________________
             __________________________________________              Last 4 digits of account number: XXXX– __ __ __ __
             City                          State        ZIP Code


  Part 3:          Legal Actions or Assignments

 7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity—within 1 year before filing this case.

           None
             Case title                                    Nature of case                           Court or agency’s name and address                  Status of case

     7.1.
             See SOFA: Part 3, Question 7 Attachment       ______________________________          __________________________________________              Pending
                                      ____________
                                      ____________
                                                                                                   Name
                                                                                                                                                           On appeal
                                                                                                   __________________________________________
             Case number              _________                                                    Street                                                  Concluded
                                                                                                   __________________________________________
             _________________________________                                                     __________________________________________
                                                                                                   City                   State             ZIP Code


             Case title                                                                              Court or agency’s name and address
                                                                                                                                                           Pending
     7.2.
             _________________________________             ______________________________          __________________________________________              On appeal
                                                                                                   Name

             Case number                                                                           __________________________________________
                                                                                                                                                           Concluded
                                                                                                   Street
                                                                                                   __________________________________________
             _________________________________
                                                                                                   __________________________________________
                                                                                                   City                           State     ZIP Code


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Debtor                Cambridge Analytica LLC
                     _______________________________________________________                                                  18-11500
                                                                                                       Case number (if known)_____________________________________
                     Name




 8. Assignments and receivership
     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.
     
     ✔      None
              Custodian’s name and address                          Description of the property                        Value

             __________________________________________             ______________________________________             $_____________
             Custodian’s name
                                                                    Case title                                         Court name and address
             __________________________________________
             Street
                                                                   ______________________________________            __________________________________________
             __________________________________________                                                              Name
             __________________________________________             Case number                                      __________________________________________
             City                          State       ZIP Code                                                      Street
                                                                   ______________________________________            __________________________________________
                                                                    Date of order or assignment                      __________________________________________
                                                                                                                     City                 State               ZIP Code

                                                                   ______________________________________

 Part 4:           Certain Gifts and Charitable Contributions

 9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
     of the gifts to that recipient is less than $1,000
     
     ✔      None
             Recipient’s name and address                           Description of the gifts or contributions                   Dates given           Value


            __________________________________________              ___________________________________________                 _________________   $__________
     9.1.
            Recipient’s name
            __________________________________________              ___________________________________________
            Street
            __________________________________________
            __________________________________________
            City                          State       ZIP Code


              Recipient’s relationship to debtor
              __________________________________________


            __________________________________________              ___________________________________________                 _________________   $__________
     9.2. Recipient’s name

            __________________________________________              ___________________________________________
            Street
            __________________________________________
            __________________________________________
            City                          State       ZIP Code

              Recipient’s relationship to debtor
              __________________________________________


 Part 5:           Certain Losses

 10. All losses from fire, theft, or other casualty within 1 year before filing this case.
     ✔
           None
             Description of the property lost and how the loss      Amount of payments received for the loss                    Date of loss        Value of property
             occurred                                               If you have received payments to cover the loss, for                            lost
                                                                    example, from insurance, government compensation, or
                                                                    tort liability, list the total received.
                                                                    List unpaid claims on Official Form 106A/B (Schedule A/B:
                                                                    Assets – Real and Personal Property).


             ___________________________________________            ___________________________________________                 _________________   $__________
             ___________________________________________


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Debtor              Cambridge Analytica LLC
                   _______________________________________________________                                               18-11500
                                                                                                  Case number (if known)_____________________________________
                   Name




 Part 6:       Certain Payments or Transfers

 11. Payments related to bankruptcy
     List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
     the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
     seeking bankruptcy relief, or filing a bankruptcy case.

          None

            Who was paid or who received the transfer?        If not money, describe any property transferred            Dates               Total amount or
                                                                                                                                             value

             Schulte Roth & Zabel LLP
            __________________________________________
   11.1.                                                      ___________________________________________                 4/25/18              30,000
                                                                                                                         ______________      $_________
            Address
                                                              ___________________________________________
             919 3rd Avenue
            __________________________________________
            Street
            __________________________________________
             New York                NY       10022
            __________________________________________
            City                        State      ZIP Code


            Email or website address
             adam.harris@srz.com
            _________________________________

            Who made the payment, if not debtor?

             Emerdata Limited
            __________________________________________


            Who was paid or who received the transfer?        If not money, describe any property transferred            Dates               Total amount or
                                                                                                                                             value


   11.2.    __________________________________________        ___________________________________________
                                                                                                                         ______________      $_________
            Address                                           ___________________________________________
            __________________________________________
            Street
            __________________________________________
            __________________________________________
            City                        State      ZIP Code

            Email or website address
            __________________________________________


            Who made the payment, if not debtor?

            __________________________________________


 12. Self-settled trusts of which the debtor is a beneficiary
     List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to
     a self-settled trust or similar device.
     Do not include transfers already listed on this statement.

     
     ✔     None

            Name of trust or device                           Describe any property transferred                           Dates transfers    Total amount or
                                                                                                                          were made          value


            __________________________________________        ___________________________________________                 ______________      $_________

            Trustee                                           ___________________________________________
            __________________________________________




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Debtor              Cambridge Analytica LLC
                   _______________________________________________________                                               18-11500
                                                                                                  Case number (if known)_________________________________
                   Name




 13. Transfers not already listed on this statement

     List any transfers of money or other propertyby sale, trade, or any other meansmade by the debtor or a person acting on behalf of the debtor
     within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
     Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.


     
     ✔     None

            Who received transfer?                               Description of property transferred or payments received   Date transfer      Total amount or
                                                                 or debts paid in exchange                                  was made           value



   13.1.    __________________________________________           ___________________________________________                ________________    $_________

                                                                 ___________________________________________
            Address
            __________________________________________
            Street
            __________________________________________
            __________________________________________
            City                        State     ZIP Code


            Relationship to debtor

            __________________________________________




            Who received transfer?
                                                                 ___________________________________________                ________________    $_________

   13.2.    __________________________________________           ___________________________________________

            Address
            __________________________________________
            Street
            __________________________________________
            __________________________________________
            City                        State     ZIP Code


            Relationship to debtor

            __________________________________________



 Part 7:       Previous Locations

 14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

          Does not apply
            Address                                                                                              Dates of occupancy


   14.1.     See SOFA: Part 7, Question 14 Attachment
            _______________________________________________________________________                              From       ____________       To   ____________
            Street
            _______________________________________________________________________
            _______________________________________________________________________
            City                                             State         ZIP Code


   14.2.    _______________________________________________________________________                              From       ____________       To   ____________
            Street
            _______________________________________________________________________
            _______________________________________________________________________
            City                                             State         ZIP Code


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Debtor              Cambridge Analytica LLC
                   _______________________________________________________                                                  18-11500
                                                                                                     Case number (if known)_____________________________________
                   Name




 Part 8:           Health Care Bankruptcies

 15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
      diagnosing or treating injury, deformity, or disease, or
      providing any surgical, psychiatric, drug treatment, or obstetric care?

     
     ✔     No. Go to Part 9.
          Yes. Fill in the information below.
            Facility name and address                          Nature of the business operation, including type of services the            If debtor provides meals
                                                               debtor provides                                                             and housing, number of
                                                                                                                                           patients in debtor’s care

   15.1.    ________________________________________           ___________________________________________________________                 ____________________
            Facility name
                                                               ____________________________________________________________
            ________________________________________
            Street                                             Location where patient records are maintained (if different from facility   How are records kept?
                                                               address). If electronic, identify any service provider.
            ________________________________________
                                                                                                                                           Check all that apply:
                                                               ____________________________________________________________
            ________________________________________
            City                     State       ZIP Code      ____________________________________________________________
                                                                                                                                            Electronically
                                                                                                                                           Paper

            Facility name and address                          Nature of the business operation, including type of services the            If debtor provides meals
                                                               debtor provides                                                             and housing, number of
                                                                                                                                           patients in debtor’s care

   15.2.    ________________________________________           ___________________________________________________________                 ____________________
            Facility name
                                                               ___________________________________________________________
            ________________________________________
            Street                                             Location where patient records are maintained (if different from facility   How are records kept?
                                                               address). If electronic, identify any service provider.
            ________________________________________
                                                                                                                                           Check all that apply:
                                                               ____________________________________________________________
            ________________________________________
            City                     State       ZIP Code      ____________________________________________________________
                                                                                                                                            Electronically
                                                                                                                                           Paper

 Part 9:           Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?

     ✔
          No.
          Yes. State the nature of the information collected and retained. ___________________________________________________________________
                   Does the debtor have a privacy policy about that information?
                
                      No
                      Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
     pension or profit-sharing plan made available by the debtor as an employee benefit?

          No. Go to Part 10.
     ✔    Yes. Does the debtor serve as plan administrator?
                   
                   ✔   No. Go to Part 10.
                      Yes. Fill in below:
                          Name of plan                                                                           Employer identification number of the plan

                          _______________________________________________________________________                EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___

                       Has the plan been terminated?
                           No
                           Yes



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                   _______________________________________________________                                               18-11500
                                                                                                  Case number (if known)_____________________________________
                   Name




 Part 10:          Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

 18. Closed financial accounts
     Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
     moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
     brokerage houses, cooperatives, associations, and other financial institutions.

     
     ✔     None
            Financial institution name and address         Last 4 digits of account        Type of account             Date account was        Last balance
                                                           number                                                      closed, sold, moved,    before closing or
                                                                                                                       or transferred          transfer

   18.1.     ______________________________________        XXXX–___ ___ ___ ___            Checking                  ___________________      $__________
            Name
                                                                                            Savings
            ______________________________________
            Street                                                                          Money market
            ______________________________________
                                                                                            Brokerage
            ______________________________________
            City                  State       ZIP Code                                      Other______________

   18.2.     ______________________________________        XXXX–___ ___ ___ ___            Checking                  ___________________      $__________
            Name
                                                                                            Savings
            ______________________________________
            Street                                                                          Money market
            ______________________________________
                                                                                            Brokerage
            ______________________________________
            City                  State       ZIP Code                                      Other______________

 19. Safe deposit boxes
     List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

     
     ✔     None

              Depository institution name and address      Names of anyone with access to it            Description of the contents                  Does debtor
                                                                                                                                                     still have it?

             ______________________________________       __________________________________          __________________________________                 No
            Name
                                                          __________________________________          __________________________________
                                                                                                                                                         Yes
            ______________________________________
            Street                                        __________________________________          __________________________________             
            ______________________________________
            ______________________________________         Address
                                                                                                                                                     
            City                  State       ZIP Code
                                                          ____________________________________

                                                          ____________________________________

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.
    ✔
          None

              Facility name and address                    Names of anyone with access to it          Description of the contents                    Does debtor
                                                                                                                                                     still have it?
                                                                                                                                                       No
             ______________________________________
            Name
                                                          __________________________________          __________________________________               Yes
            ______________________________________
                                                          __________________________________          __________________________________              
            Street                                        __________________________________          __________________________________
            ______________________________________
            ______________________________________          Address                                                                                   
            City                  State       ZIP Code
                                                           ________________________________

                                                           _________________________________



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                 _______________________________________________________                                                     18-11500
                                                                                                      Case number (if known)_____________________________________
                 Name




 Part 11:        Property the Debtor Holds or Controls That the Debtor Does Not Own

 21. Property held for another
     List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
     trust. Do not list leased or rented property.
     ✔
        None

          Owner’s name and address                              Location of the property                  Description of the property                 Value

                                                                                                                                                      $_______
          ______________________________________                __________________________________        __________________________________
          Name
                                                                __________________________________        __________________________________
          ______________________________________
          Street                                                __________________________________        __________________________________
          ______________________________________
          ______________________________________
          City                  State         ZIP Code




 Part 12:        Details About Environmental Information

 For the purpose of Part 12, the following definitions apply:
  Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
     regardless of the medium affected (air, land, water, or any other medium).
  Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
     formerly owned, operated, or utilized.
  Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
     or a similarly harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.


 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     ✔
        No
        Yes. Provide details below.
          Case title                                     Court or agency name and address                 Nature of the case                       Status of case

          _________________________________
                                                         _____________________________________            __________________________________         Pending
          Case number                                    Name
                                                                                                          __________________________________
                                                                                                                                                     On appeal

          _________________________________
                                                         _____________________________________
                                                         Street
                                                                                                                                                     Concluded
                                                                                                          __________________________________
                                                         _____________________________________                                                    
                                                         _____________________________________
                                                         City                    State     ZIP Code




 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?

     
     ✔   No
        Yes. Provide details below.
         Site name and address                           Governmental unit name and address               Environmental law, if known            Date of notice


          __________________________________             _____________________________________            __________________________________       __________
          Name                                           Name
                                                                                                          __________________________________
          __________________________________             _____________________________________
          Street                                         Street                                           __________________________________
          __________________________________             _____________________________________
          __________________________________             _____________________________________
          City                  State    ZIP Code        City                   State      ZIP Code




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Debtor              Cambridge Analytica LLC
                   _______________________________________________________                                                18-11500
                                                                                                   Case number (if known)_____________________________________
                   Name




 24. Has the debtor notified any governmental unit of any release of hazardous material?
     
     ✔     No
          Yes. Provide details below.

           Site name and address                      Governmental unit name and address               Environmental law, if known                  Date of notice


            __________________________________        ______________________________________           __________________________________            __________
            Name                                      Name
                                                                                                       __________________________________
            __________________________________        ______________________________________
            Street                                    Street                                           __________________________________
            __________________________________        ______________________________________
            __________________________________        ______________________________________
            City                  State    ZIP Code   City                 State        ZIP Code




 Part 13:            Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
     List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
     Include this information even if already listed in the Schedules.

          None


            Business name and address                  Describe the nature of the business                      Employer Identification number
                                                                                                                Do not include Social Security number or ITIN.
                                                                                                                       82 ___ –1240550
                                                                                                                EIN: ___       ___ ___ ___ ___ ___ ___ ___
   25.1.     Anaxi Solutions Inc
            __________________________________          Provision of data analytics and communication
                                                       _____________________________________________
            Name                                                                                                Dates business existed
                                                        services to government departments.
                                                       _____________________________________________
             2511 Jefferson Davis Parkway
            __________________________________
            Street                                     _____________________________________________
            __________________________________                                                                  From _04/17/17
                                                                                                                       ______        To _04/27/18
                                                                                                                                          ______
             Arlington         VA       22202
            __________________________________
            City                  State    ZIP Code




            Business name and address                  Describe the nature of the business                      Employer Identification number
   25.2.                                                                                                        Do not include Social Security number or ITIN.

             Cambridge Analytica Commercial LLC
            __________________________________          Dormant company.
                                                       _____________________________________________            EIN: ___ 47      2950548
                                                                                                                         ___ – ___ ___ ___ ___ ___ ___ ___
            Name
                                                                                                                Dates business existed
             c/o Corporation Trust Company             _____________________________________________
            __________________________________
            Street                                     _____________________________________________
             1209 Orange Street
            __________________________________                                                                       01/21/15
                                                                                                                From _______            04/27/18
                                                                                                                                     To _______
             Wilmington        DE       19801
            __________________________________
            City                  State    ZIP Code



            Business name and address                  Describe the nature of the business                      Employer Identification number
                                                                                                                Do not include Social Security number or ITIN.

   25.3.     Cambridge Analytica Commercial LLC
            __________________________________          Dormant company.
                                                       _____________________________________________            EIN: ___ 47      2938278
                                                                                                                         ___ – ___ ___ ___ ___ ___ ___ ___
            Name
             c/o Corporation Trust Company             _____________________________________________            Dates business existed
            __________________________________
            Street                                     _____________________________________________
             1209 Orange Street
            __________________________________
                                                                                                                     01/21/15
                                                                                                                From _______            04/27/18
                                                                                                                                     To _______
             Wilmington        DE       19801
            __________________________________
            City                  State    ZIP Code




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Debtor             Cambridge Analytica LLC
                  _______________________________________________________                                                 18-11500
                                                                                                   Case number (if known)_____________________________________
                  Name




 26. Books, records, and financial statements
     26a. List    all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

                 None
              Name and address                                                                                  Dates of service


               See SOFA: Part 13, Question 26.a. Attachment                                                     From _______       To _______
   26a.1.     __________________________________________________________________________________
              Name
              __________________________________________________________________________________
              Street
              __________________________________________________________________________________
              __________________________________________________________________________________
              City                                                State                 ZIP Code


              Name and address                                                                                  Dates of service

                                                                                                                From _______       To _______
   26a.2.     __________________________________________________________________________________
              Name
              __________________________________________________________________________________
              Street
              __________________________________________________________________________________
              __________________________________________________________________________________
              City                                                State                 ZIP Code



     26b.   List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
            statement within 2 years before filing this case.
                 None

                     Name and address                                                                           Dates of service

                                                                                                                     10/01/16
                                                                                                                From _______          Present
                                                                                                                                   To _______
         26b.1.       PKF Littlejohn LLP
                     ______________________________________________________________________________
                     Name
                      1 Westferry Circus
                     ______________________________________________________________________________
                     Street
                     ______________________________________________________________________________
                      Canary Wharf, London                United Kingdom              E14 4HD
                     ______________________________________________________________________________
                     City                                             State                 ZIP Code


                     Name and address                                                                           Dates of service

                                                                                                                     10/01/16
                                                                                                                From _______          Present
                                                                                                                                   To _______
         26b.2.       Golub, LaCapra, Wilsom & DeTiberis LLP
                     ______________________________________________________________________________
                     Name
                      2 Roosevelt Avenue
                     ______________________________________________________________________________
                     Street
                     ______________________________________________________________________________
                      Port Jefferson Station                       NY                 11776
                     ______________________________________________________________________________
                     City                                             State                 ZIP Code



     26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
                 None
                                                                                                                If any books of account and records are
                     Name and address
                                                                                                                unavailable, explain why


         26c.1.       See SOFA: Part 13, Question 26.c. Attachment
                     ______________________________________________________________________________             _________________________________________
                     Name
                                                                                                                _________________________________________
                     ______________________________________________________________________________
                     Street                                                                                     _________________________________________
                     ______________________________________________________________________________
                     ______________________________________________________________________________
                     City                                             State                 ZIP Code



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Debtor                Cambridge Analytica LLC
                     _______________________________________________________                                               18-11500
                                                                                                    Case number (if known)_____________________________________
                     Name




                       Name and address                                                                         If any books of account and records are
                                                                                                                unavailable, explain why


           26c.2.      ______________________________________________________________________________           _________________________________________
                       Name
                                                                                                                _________________________________________
                       ______________________________________________________________________________
                       Street                                                                                   _________________________________________
                       ______________________________________________________________________________
                       ______________________________________________________________________________
                       City                                            State                   ZIP Code



     26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
          within 2 years before filing this case.

              
              ✔      None

                       Name and address


           26d.1.      ______________________________________________________________________________
                       Name
                       ______________________________________________________________________________
                       Street
                       ______________________________________________________________________________
                       ______________________________________________________________________________
                       City                                            State                   ZIP Code


                       Name and address


           26d.2.      ______________________________________________________________________________
                       Name
                       ______________________________________________________________________________
                       Street
                       ______________________________________________________________________________
                       ______________________________________________________________________________
                       City                                            State                   ZIP Code




 27. Inventories
     Have any inventories of the debtor’s property been taken within 2 years before filing this case?
  
  ✔         No
          Yes. Give the details about the two most recent inventories.



               Name of the person who supervised the taking of the inventory                        Date of      The dollar amount and basis (cost, market, or
                                                                                                    inventory    other basis) of each inventory


              ______________________________________________________________________               _______       $___________________

               Name and address of the person who has possession of inventory records


   27.1.       ______________________________________________________________________
              Name
              ______________________________________________________________________
              Street
              ______________________________________________________________________
              ______________________________________________________________________
              City                                                     State        ZIP Code




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                   Cambridge Analytica LLC                                                                           18-11500
Debtor             _______________________________________________________                     Case number (if known)_____________________________________
                   Name




            Name of the person who supervised the taking of the inventory                     Date of           The dollar amount and basis (cost, market, or
                                                                                              inventory         other basis) of each inventory

            ______________________________________________________________________            _______        $___________________

            Name and address of the person who has possession of inventory records


   27.2.    ______________________________________________________________________
            Name
            ______________________________________________________________________
            Street
            ______________________________________________________________________
            ______________________________________________________________________
            City                                                    State         ZIP Code


 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
     people in control of the debtor at the time of the filing of this case.

            Name                                Address                                              Position and nature of any             % of interest, if any
                                                                                                     interest
             Emerdata Limited                    55 New Oxford St., London, WC1A 1BS, UK              Shareholder                             89.5%
            ____________________________        _____________________________________________        ____________________________            _______________
             Julian Wheatland                    22 W 15th St, #20b, New York, NY 100111                Authorized Person
            ____________________________        _____________________________________________        ____________________________            _______________

            ____________________________        _____________________________________________        ____________________________            _______________

            ____________________________        _____________________________________________        ____________________________            _______________

            ____________________________        _____________________________________________        ____________________________            _______________

 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control
     of the debtor, or shareholders in control of the debtor who no longer hold these positions?
        No
     
     ✔     Yes. Identify below.

            Name                                Address                                               Position and nature of          Period during which
                                                                                                      any interest                    position or interest was
                                                                                                                                      held
             See SOFA: Part 13, Question
            ____________________________        _____________________________________________         ______________________         From _____ To _____
             29 Attachment
            ____________________________        _____________________________________________         ______________________         From _____ To _____

            ____________________________        _____________________________________________         ______________________         From _____ To _____

            ____________________________        _____________________________________________         ______________________         From _____ To _____

 30. Payments, distributions, or withdrawals credited or given to insiders
     Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
     bonuses, loans, credits on loans, stock redemptions, and options exercised?
          No
     
     ✔     Yes. Identify below.

            Name and address of recipient                                            Amount of money or                   Dates              Reason for
                                                                                     description and value of                                providing the value
                                                                                     property

             See SOFA: Part 2, Question 4 Attachment
   30.1.    ______________________________________________________________            _________________________           _____________       ____________
            Name
            ______________________________________________________________
            Street                                                                                                       _____________
            ______________________________________________________________
            ______________________________________________________________                                               _____________
            City                                     State          ZIP Code

            Relationship to debtor                                                                                       _____________

            ______________________________________________________________                                               _____________

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                     Cambridge Analytica LLC                                                                            18-11500
Debtor               _______________________________________________________                        Case number (if known)_____________________________________
                     Name




              Name and address of recipient
                                                                                            __________________________     _____________       ______________

   30.2       ______________________________________________________________
              Name                                                                                                         _____________
              ______________________________________________________________
              Street                                                                                                       _____________
              ______________________________________________________________
              ______________________________________________________________                                               _____________
              City                                            State      ZIP Code


              Relationship to debtor                                                                                       _____________

              ______________________________________________________________



 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
     
     ✔       No
            Yes. Identify below.
              Name of the parent corporation                                                              Employer Identification number of the parent
                                                                                                          corporation

              ______________________________________________________________                             EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___



 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
     
     ✔       No
            Yes. Identify below.

              Name of the pension fund                                                                    Employer Identification number of the pension fund

              ______________________________________________________________                             EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___



 Part 14:              Signature and Declaration


             WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
             connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
             18 U.S.C. §§ 152, 1341, 1519, and 3571.

             I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
             is true and correct.

             I declare under penalty of perjury that the foregoing is true and correct.

                                05/31/2018
             Executed on       _________________
                                MM / DD / YYYY



         8    /s/ Julian Wheatland
              ___________________________________________________________
                                                                                                     Julian Wheatland
                                                                                          Printed name _________________________________________________
              Signature of individual signing on behalf of the debtor

                                                 Authorized Person
              Position or relationship to debtor ____________________________________




         Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
             No
         
         ✔    Yes




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                                                                            /ŶƌĞĂŵďƌŝĚŐĞŶĂůǇƚŝĐĂ>>
                                                                                  ĂƐĞEŽ͘ϭϴͲϭϭϱϬϬ
                                      ^K&͗WĂƌƚϮ͕YƵĞƐƚŝŽŶϯʹĞƌƚĂŝŶWĂǇŵĞŶƚƐŽƌdƌĂŶƐĨĞƌƐƚŽƌĞĚŝƚŽƌƐtŝƚŚŝŶϵϬĂǇƐĞĨŽƌĞ&ŝůŝŶŐdŚŝƐĂƐĞ
                      ƌĞĚŝƚŽƌEĂŵĞ                                          ĚĚƌĞƐƐ                               ĂƚĞƐ      dŽƚĂůŵŽƵŶƚŽƌǀĂůƵĞ     ZĞĂƐŽŶĨŽƌƉĂǇŵĞŶƚŽƌƚƌĂŶƐĨĞƌ
ĞůƚĞŬ                                            ϭϱϵtϱϯƌĚ^ƚ͕EĞǁzŽƌŬ͕EzϭϬϬϭϵ                               ϰͬϰͬϮϬϭϴ                Ψϲ͕ϴϱϵ͘ϭϯ ^ƵƉƉůŝĞƌͬsĞŶĚŽƌ
ŝƌĞĐƚĂƌĞ/ŶĐ͘                                  ϲϱϮϬEĞǁhƚƌĞĐŚƚǀĞŶƵĞ͕EĞǁzŽƌŬ͕EzϭϭϮϭϵ                    ϯͬϮϮͬϮϬϭϴ               Ψϳϰ͕ϳϴϯ͘Ϯϲ KƚŚĞƌͲƵƐƚŽŵĞƌZĞĨƵŶĚ
WƌĞƐŝĚĞŶƚŝĂůdŽǁĞƌWƌŽƉĞƌƚǇ>>                   ϮϬϬ^ƚĂƚĞ^ƚƌĞĞƚ͕ϱƚŚ&ůŽŽƌ͕ŽƐƚŽŶ͕DĂƐƐĂĐŚƵƐĞƚƚƐϬϮϭϬϵ       ϯͬϮϳͬϮϬϭϴ               ΨϭϬ͕ϭϯϬ͘ϭϵ ^ƵƉƉůŝĞƌͬsĞŶĚŽƌ
                                            ΀ϭ΁
^>ůĞĐƚŝŽŶƐ>ŝŵŝƚĞĚ;ŝŶĚŵŝŶŝƐƚƌĂƚŝŽŶͿ         ϱϱEĞǁKǆĨŽƌĚ^ƚƌĞĞƚ͕>ŽŶĚŽŶ͕tϭϭ^͕h<                     ϯͬϮϭͬϮϬϭϴ              ΨϭϮϯ͕ϵϳϭ͘ϱϵ ^ƵƉƉůŝĞƌͬsĞŶĚŽƌ
^>ůĞĐƚŝŽŶƐ>ŝŵŝƚĞĚ;ŝŶĚŵŝŶŝƐƚƌĂƚŝŽŶͿ         ϱϱEĞǁKǆĨŽƌĚ^ƚƌĞĞƚ͕>ŽŶĚŽŶ͕tϭϭ^͕h<                     ϯͬϮϮͬϮϬϭϴ              ΨϱϬϬ͕ϬϬϬ͘ϬϬ ^ƵƉƉůŝĞƌͬsĞŶĚŽƌ
^>ůĞĐƚŝŽŶƐ>ŝŵŝƚĞĚ;ŝŶĚŵŝŶŝƐƚƌĂƚŝŽŶͿ         ϱϱEĞǁKǆĨŽƌĚ^ƚƌĞĞƚ͕>ŽŶĚŽŶ͕tϭϭ^͕h<                     ϯͬϮϲͬϮϬϭϴ              ΨϯϬϬ͕ϬϬϬ͘ϬϬ ^ƵƉƉůŝĞƌͬsĞŶĚŽƌ
                ΀Ϯ΁
^>'ƌŽƵƉ/ŶĐ                                     ϱϱEĞǁKǆĨŽƌĚ^ƚƌĞĞƚ͕>ŽŶĚŽŶ͕tϭϭ^͕h<                      ϰͬϰͬϮϬϭϴ                ΨϮ͕ϵϬϱ͘ϬϬ ^ƵƉƉůŝĞƌͬsĞŶĚŽƌ
^>'ƌŽƵƉ/ŶĐ                                     ϱϱEĞǁKǆĨŽƌĚ^ƚƌĞĞƚ͕>ŽŶĚŽŶ͕tϭϭ^͕h<                     ϰͬϭϯͬϮϬϭϴ                Ψϳ͕ϭϬϮ͘ϲϬ ^ƵƉƉůŝĞƌͬsĞŶĚŽƌ
^>h^/ŶĐ                                       ϱϱEĞǁKǆĨŽƌĚ^ƚƌĞĞƚ͕>ŽŶĚŽŶ͕tϭϭ^͕h<                     ϯͬϮϯͬϮϬϭϴ               ΨϮϭ͕ϵϲϰ͘ϱϴ ^ƵƉƉůŝĞƌͬsĞŶĚŽƌ
^>h^/ŶĐ                                       ϱϱEĞǁKǆĨŽƌĚ^ƚƌĞĞƚ͕>ŽŶĚŽŶ͕tϭϭ^͕h<                     ϰͬϭϯͬϮϬϭϴ                ΨϮ͕ϬϱϮ͘ϬϬ ^ƵƉƉůŝĞƌͬsĞŶĚŽƌ
^>h^/ŶĐ                                       ϱϱEĞǁKǆĨŽƌĚ^ƚƌĞĞƚ͕>ŽŶĚŽŶ͕tϭϭ^͕h<                     ϰͬϭϯͬϮϬϭϴ                  ΨϳϵϬ͘ϬϬ ^ƵƉƉůŝĞƌͬsĞŶĚŽƌ
dŚĞŝƐƚƌŝĐƚŽŵŵƵŶŝĐĂƚŝŽŶƐ'ƌŽƵƉ͕>>            ϮϭϲϭϮƚŚ^ƚƌĞĞƚ͕^tĂƐŚŝŶŐƚŽŶ͕ϮϬϬϬϯ                       ϯͬϮϯͬϮϬϭϴ                Ψϳ͕ϭϮϱ͘ϬϬ ^ƵƉƉůŝĞƌͬsĞŶĚŽƌ
d,'^ŽƵƚŚ/ŶĐ                                     ϭϱĂǀŝƐǀĞ͕WŽƵŐŚŬĞĞƉƐŝĞ͕EzϭϮϲϬϯ                           ϯͬϮϯͬϮϬϭϴ               Ψϭϵ͕ϬϬϵ͘Ϭϳ ^ƵƉƉůŝĞƌͬsĞŶĚŽƌ
                                                                                                                                dŽƚĂů͗Ψϭ͕Ϭϳϲ͕ϲϵϮ͘ϰϮ


 &ŽŽƚŶŽƚĞ͗
 ΀ϭ΁͗dŚŝƐĞŶƚŝƚǇŝƐŝŶĂĚŵŝŶŝƐƚƌĂƚŝŽŶƉƌŽĐĞĞĚŝŶŐƐŝŶƚŚĞhŶŝƚĞĚ<ŝŶŐĚŽŵĂŶĚsŝŶĐĞ'ƌĞĞŶŽĨƌŽǁĞůĂƌŬtŚŝƚĞŚŝůů>>WŚĂƐďĞĞŶĂƉƉŽŝŶƚĞĚĂƐƚŚĞĂĚŵŝŶŝƐƚƌĂƚŽƌďǇdŚĞ,ŝŐŚŽƵƌƚŽĨ
 :ƵƐƚŝĐĞ͕ƵƐŝŶĞƐƐĂŶĚWƌŽƉĞƌƚǇŽƵƌƚƐŽĨŶŐůĂŶĚĂŶĚtĂůĞƐ͕ĂŶĚ/ŶƐŽůǀĞŶĐǇĂŶĚŽŵƉĂŶŝĞƐ>ŝƐƚ;ŚͿ͘
 ΀Ϯ΁͗dŚŝƐĞŶƚŝƚǇĐŚĂŶŐĞĚŝƚƐŶĂŵĞƚŽŶĂǆŝ^ŽůƵƚŝŽŶƐ/ŶĐ͘ŽŶDĂƌĐŚϮϵ͕ϮϬϭϴĂŶĚŶĂǆŝ^ŽůƵƚŝŽŶƐ/ŶĐ͘ƐƵďƐĞƋƵĞŶƚůǇŵĞƌŐĞĚŝŶƚŽĂŵďƌŝĚŐĞŶĂůǇƚŝĐĂ>>͕ƚŚĞĞďƚŽƌŝŶƚŚŝƐŚĂƉƚĞƌϳ
 ĂƐĞ͘
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 &ŽŽƚŶŽƚĞ͗
 ΀ϭ΁͗dŚŝƐĞŶƚŝƚǇŝƐŝŶĂĚŵŝŶŝƐƚƌĂƚŝŽŶƉƌŽĐĞĞĚŝŶŐƐŝŶƚŚĞhŶŝƚĞĚ<ŝŶŐĚŽŵĂŶĚsŝŶĐĞ'ƌĞĞŶŽĨƌŽǁĞůĂƌŬtŚŝƚĞŚŝůů>>WŚĂƐďĞĞŶĂƉƉŽŝŶƚĞĚĂƐƚŚĞĂĚŵŝŶŝƐƚƌĂƚŽƌďǇdŚĞ,ŝŐŚŽƵƌƚŽĨ
 :ƵƐƚŝĐĞ͕ƵƐŝŶĞƐƐĂŶĚWƌŽƉĞƌƚǇŽƵƌƚƐŽĨŶŐůĂŶĚĂŶĚtĂůĞƐ͕ĂŶĚ/ŶƐŽůǀĞŶĐǇĂŶĚŽŵƉĂŶŝĞƐ>ŝƐƚ;ŚͿ͘
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                                                                                                                                                         ĂƐĞEŽ͘ϭϴͲϭϭϱϬϬ
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                             ĂƐĞdŝƚůĞ                             ĂƐĞEƵŵďĞƌ                  EĂƚƵƌĞŽĨĂƐĞ                                         ŽƵƌƚŽƌŐĞŶĐǇ͛ƐEĂŵĞ                                                                                 ĚĚƌĞƐƐ                                                   ^ƚĂƚƵƐŽĨĐĂƐĞ
ŝŐĞůŽǁǀĂŵďƌŝĚŐĞŶĂůǇƚŝĐĂ>>ĞƚĂů                    ϭϴŝǀ͘ϯϴϰϱ;:'<Ϳ       ŽƉǇƌŝŐŚƚ/ŶĨƌŝŶŐĞŵĞŶƚ                h^ŝƐƚƌŝĐƚŽƵƌƚͲ^ŽƵƚŚĞƌŶŝƐƚƌŝĐƚŽĨEĞǁzŽƌŬ                              ϱϬϬWĞĂƌů^ƚƌĞĞƚ͕EĞǁzŽƌŬ͕EzϭϬϬϬϳ                                                                               WĞŶĚŝŶŐ
ZƵďŝŶǀ&ĂĐĞďŽŽŬ͕/ŶĐ͘ĞƚĂů                               ϯ͗ϭϴͲĐǀͲϬϭϴϱϮͲs         ůĂƐƐĐƚŝŽŶ                          h^ŝƐƚƌŝĐƚŽƵƌƚͲEŽƌƚŚĞƌŶŝƐƚƌŝĐƚŽĨĂůŝĨŽƌŶŝĂ                            ϰϱϬ'ŽůĚĞŶ'ĂƚĞǀĞ͕WKŽǆϯϲϬϲϬ͕^ĂŶ&ƌĂŶĐŝƐĐŽ͕ϵϰϭϬϮ                                                         WĞŶĚŝŶŐ
,ĂƐůŝŶŐĞƌǀ&ĂĐĞďŽŽŬ͕/ŶĐ͘ĞƚĂů                           ϯ͗ϭϴͲĐǀͲϬϭϵϴϰͲs         ůĂƐƐĐƚŝŽŶ                          h^ŝƐƚƌŝĐƚŽƵƌƚͲEŽƌƚŚĞƌŶŝƐƚƌŝĐƚŽĨĂůŝĨŽƌŶŝĂ                            ϰϱϬ'ŽůĚĞŶ'ĂƚĞǀĞ͕WKŽǆϯϲϬϲϬ͕^ĂŶ&ƌĂŶĐŝƐĐŽ͕ϵϰϭϬϮ                                                        WĞŶĚŝŶŐ
<ŝŶŐǀ͘&ĂĐĞďŽŽŬ͕/ŶĐ͘ĞƚĂů                               ϯ͗ϭϴͲĐǀͲϬϮϮϳϲͲs         ůĂƐƐĐƚŝŽŶ                          h^ŝƐƚƌŝĐƚŽƵƌƚͲEŽƌƚŚĞƌŶŝƐƚƌŝĐƚŽĨĂůŝĨŽƌŶŝĂ                            ϰϱϬ'ŽůĚĞŶ'ĂƚĞǀĞ͕WKŽǆϯϲϬϲϬ͕^ĂŶ&ƌĂŶĐŝƐĐŽ͕ϵϰϭϬϮ                                                        WĞŶĚŝŶŐ
ŝĂǌ^ĂŶĐŚĞǌǀ͘&ĂĐĞďŽŽŬ͕/ŶĐ͘ĞƚĂů                       ϯ͗ϭϴͲĐǀͲϬϮϯϴϭͲs         ůĂƐƐĐƚŝŽŶ                          h^ŝƐƚƌŝĐƚŽƵƌƚͲEŽƌƚŚĞƌŶŝƐƚƌŝĐƚŽĨĂůŝĨŽƌŶŝĂ                            ϰϱϬ'ŽůĚĞŶ'ĂƚĞǀĞ͕WKŽǆϯϲϬϲϬ͕^ĂŶ&ƌĂŶĐŝƐĐŽ͕ϵϰϭϬϮ                                                        WĞŶĚŝŶŐ
^ĐŚŝŶĚĞƌǀ͘&ĂĐĞďŽŽŬ/ŶĐ͘ĞƚĂů                            ϯ͗ϭϴͲĐǀͲϬϮϱϳϭͲs         ůĂƐƐĐƚŝŽŶ                          h^ŝƐƚƌŝĐƚŽƵƌƚͲEŽƌƚŚĞƌŶŝƐƚƌŝĐƚŽĨĂůŝĨŽƌŶŝĂ                            ϰϱϬ'ŽůĚĞŶ'ĂƚĞǀĞ͕WKŽǆϯϲϬϲϬ͕^ĂŶ&ƌĂŶĐŝƐĐŽ͕ϵϰϭϬϮ                                                        WĞŶĚŝŶŐ
sĂŶĐĞͲ'ƵĞƌďĞǀ͘&ĂĐĞďŽŽŬ͕/ŶĐ͘ĞƚĂů                       ϯ͗ϭϴͲĐǀͲϬϮϵϴϳͲ>        ůĂƐƐĐƚŝŽŶ                          h^ŝƐƚƌŝĐƚŽƵƌƚͲEŽƌƚŚĞƌŶŝƐƚƌŝĐƚŽĨĂůŝĨŽƌŶŝĂ                            ϰϱϬ'ŽůĚĞŶ'ĂƚĞǀĞ͕WKŽǆϯϲϬϲϬ͕^ĂŶ&ƌĂŶĐŝƐĐŽ͕ϵϰϭϬϮ                                                        WĞŶĚŝŶŐ
ƵƌŬĞƚĂůǀ͘&ĂĐĞďŽŽŬ͕/ŶĐ͘ĞƚĂů                         ϰ͗ϭϴͲĐǀͲϬϮϱϬϰͲz'Z        ůĂƐƐĐƚŝŽŶ                          h^ŝƐƚƌŝĐƚŽƵƌƚͲEŽƌƚŚĞƌŶŝƐƚƌŝĐƚŽĨĂůŝĨŽƌŶŝĂ                            ϰϱϬ'ŽůĚĞŶ'ĂƚĞǀĞ͕WKŽǆϯϲϬϲϬ͕^ĂŶ&ƌĂŶĐŝƐĐŽ͕ϵϰϭϬϮ                                                        WĞŶĚŝŶŐ
WĞůĐǀ͘&ĂĐĞďŽŽŬ͕/ŶĐ͘ĞƚĂů                               ϰ͗ϭϴͲĐǀͲϬϮϵϰϴͲ<t        ůĂƐƐĐƚŝŽŶ                          h^ŝƐƚƌŝĐƚŽƵƌƚͲEŽƌƚŚĞƌŶŝƐƚƌŝĐƚŽĨĂůŝĨŽƌŶŝĂ                            ϰϱϬ'ŽůĚĞŶ'ĂƚĞǀĞ͕WKŽǆϯϲϬϲϬ͕^ĂŶ&ƌĂŶĐŝƐĐŽ͕ϵϰϭϬϮ                                                        WĞŶĚŝŶŐ
/ŶƌĞ&ĂĐĞďŽŽŬhƐĞƌWƌŽĨŝůĞ>ŝƚŝŐĂƚŝŽŶ                     D>ŽĐŬĞƚEŽ͘Ϯϴϰϯ      ůĂƐƐĐƚŝŽŶ                          h^ŝƐƚƌŝĐƚŽƵƌƚͲEŽƌƚŚĞƌŶŝƐƚƌŝĐƚŽĨĂůŝĨŽƌŶŝĂ                            ϰϱϬ'ŽůĚĞŶ'ĂƚĞǀĞ͕WKŽǆϯϲϬϲϬ͕^ĂŶ&ƌĂŶĐŝƐĐŽ͕ϵϰϭϬϮ                                                        WĞŶĚŝŶŐ
WŝĐŚĂĞƚĂůǀ&ĂĐĞďŽŽŬ͕/ŶĐ͘ĞƚĂů                         ϯ͗ϭϴͲĐǀͲϬϮϬϵϬͲ^<         ůĂƐƐĐƚŝŽŶ                          h^ŝƐƚƌŝĐƚŽƵƌƚͲEŽƌƚŚĞƌŶŝƐƚƌŝĐƚŽĨĂůŝĨŽƌŶŝĂ                            ϰϱϬ'ŽůĚĞŶ'ĂƚĞǀĞ͕WKŽǆϯϲϬϲϬ͕^ĂŶ&ƌĂŶĐŝƐĐŽ͕ϵϰϭϬϮ                                                        WĞŶĚŝŶŐ
KΖ,ĂƌĂĞƚĂůǀ&ĂĐĞďŽŽŬ͕/ŶĐ͘ĞƚĂů                        ϴ͗ϭϴͲĐǀͲϬϬϱϳϭͲ'&D     ůĂƐƐĐƚŝŽŶ                          h^ŝƐƚƌŝĐƚŽƵƌƚͲĞŶƚƌĂůŝƐƚƌŝĐƚŽĨĂůŝĨŽƌŶŝĂ;^ŽƵƚŚĞƌŶŝǀŝƐŝŽŶͿ         ϰϭϭtϰƚŚ^ƚηϭͲϬϱϯ͕^ĂŶƚĂŶĂ͕ϵϮϳϬϭ                                                                          WĞŶĚŝŶŐ
>ĂƌĂďĞĞĞƚĂůǀ͘ŽŶĂůĚ:͘dƌƵŵƉĞƚĂů                     DhZEŽ͘ϳϯϱϬ             &ĞĚĞƌĂůůĞĐƚŝŽŶ>Ăǁ                  &ĞĚĞƌĂůůĞĐƚŝŽŶŽŵŵŝƐƐŝŽŶ                                                    ϭϬϱϬ&ŝƌƐƚ^ƚE͕tĂƐŚŝŶŐƚŽŶ͕ϮϬϰϲϯ                                                                            WĞŶĚŝŶŐ
ŽŵŵŽŶĂƵƐĞĞƚĂůǀĂŵďƌŝĚŐĞŶĂůǇƚŝĐĂĞƚĂů             DhZEŽ͘ϳϯϱϭ             &ĞĚĞƌĂůůĞĐƚŝŽŶ>Ăǁ                  &ĞĚĞƌĂůůĞĐƚŝŽŶŽŵŵŝƐƐŝŽŶ                                                    ϭϬϱϬ&ŝƌƐƚ^ƚE͕tĂƐŚŝŶŐƚŽŶ͕ϮϬϰϲϯ                                                                            WĞŶĚŝŶŐ
&dǀĂŵďƌŝĚŐĞŶĂůǇƚŝĐĂ>>                              DĂƚƚĞƌEŽ͘ϭϴϮϯϬϳ        hŶĨĂŝƌΘĞĐĞƉƚŝǀĞdƌĂĚĞWƌĂĐƚŝĐĞƐ    &ĞĚĞƌĂůdƌĂĚĞŽŵŵŝƐƐŝŽŶ                                                       ϲϬϬWĞŶŶƐǇůǀĂŶŝĂǀĞEt͕DĂŝů^ƚŽƉϴϮϯϮ͕tĂƐŚŝŶŐƚŽŶ͕ϮϬϱϴϬ                                                  WĞŶĚŝŶŐ
/ŶƚŚĞDĂƚƚĞƌŽĨ&ĂĐĞďŽŽŬ͕/ŶĐ͘                            ^&ͲϰϮϮϯ                  Eͬ                                   ^ĞĐƵƌŝƚŝĞƐĂŶĚǆĐŚĂŶŐĞŽŵŵŝƐƐŝŽŶ                                             ϰϰDŽŶƚŐŽŵĞƌǇ^ƚƌĞĞƚ͕^ƵŝƚĞϮϴϬϬ͕^ĂŶ&ƌĂŶĐŝƐĐŽ͕ϵϰϭϬϰ                                                         WĞŶĚŝŶŐ
^ƚĂƚĞŽĨdŝǀŝů/ŶǀĞƐƚŝŐĂƚŝǀĞĞŵĂŶĚ                     Eͬ                      ŽŶƐƵŵĞƌWƌŽƚĞĐƚŝŽŶ                   KĨĨŝĐĞŽĨƚŚĞƚƚŽƌŶĞǇ'ĞŶĞƌĂůͲdŽŵŵŝƐƐŝŽŶĞƌŽĨŽŶƐƵŵĞƌWƌŽƚĞĐƚŝŽŶ        ϭϭϬ^ŚĞƌŵĂŶ^ƚƌĞĞƚ͕,ĂƌƚĨŽƌĚ͕dϬϲϭϬϱ                                                                            WĞŶĚŝŶŐ
ŽŵŵŽŶǁĞĂůƚŚŽĨDĂƐƐĂĐŚƵƐĞƚƚƐŝǀŝů/ŶǀĞƐƚŝŐĂƚŝǀĞĞŵĂŶĚ   ĞŵĂŶĚEŽ͗ϮϬϭϴͲWͲϮϵ   ŽŶƐƵŵĞƌWƌŽƚĞĐƚŝŽŶ                   KĨĨŝĐĞŽĨƚŚĞƚƚŽƌŶĞǇ'ĞŶĞƌĂůͲŽŵŵŽŶǁĞĂůƚŚŽĨDĂƐƐĂĐŚƵƐĞƚƚƐ                 KŶĞƐŚďƵƌƚŽŶWůĂĐĞ͕ŽƐƚŽŶ͕DϬϮϭϬϴ                                                                             WĞŶĚŝŶŐ
/ŶƚŚĞDĂƚƚĞƌŽĨĂŵďƌŝĚŐĞŶĂůǇƚŝĐĂ                       Eͬ                      ŽŶƐƵŵĞƌWƌŽƚĞĐƚŝŽŶ                   ƚƚŽƌŶĞǇ'ĞŶĞƌĂůŽĨEĞǁ:ĞƌƐĞǇ                                                 ϭϮϰ,ĂůƐĞǇ^ƚƌĞĞƚ͕ϱƚŚ&ů͕WKŽǆϰϱϬϮϵ͕EĞǁĂƌŬ͕E:ϬϳϭϬϭ                                                         WĞŶĚŝŶŐ
^ƚĂƚĞŽĨEĞǁzŽƌŬŝǀŝů/ŶǀĞƐƚŝŐĂƚŝǀĞĞŵĂŶĚ               Eͬ                      ŽŶƐƵŵĞƌWƌŽƚĞĐƚŝŽŶ                   ƚƚŽƌŶĞǇ'ĞŶĞƌĂůŽĨEĞǁzŽƌŬ                                                   ƵƌĞĂƵŽĨ/ŶƚĞƌŶĞƚĂŶĚdĞĐŚŶŽůŽŐǇ͕Ez^KĨĨŝĐĞŽĨƚŚĞƚƚŽƌŶĞǇ'ĞŶĞƌĂů͕Ϯϴ>ŝďĞƌƚǇ^ƚƌĞĞƚ͕EĞǁzŽƌŬ͕EzϭϬϬϬϱ     WĞŶĚŝŶŐ
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                                                /ŶƌĞĂŵďƌŝĚŐĞŶĂůǇƚŝĐĂ>>
                                                      ĂƐĞEŽ͘ϭϴͲϭϭϱϬϬ
^K&͗WĂƌƚϳ͕YƵĞƐƚŝŽŶϭϰʹ>ŝƐƚĂůůƉƌĞǀŝŽƵƐĂĚĚƌĞƐƐĞƐƵƐĞĚďǇƚŚĞĚĞďƚŽƌǁŝƚŚŝŶϯǇĞĂƌƐďĞĨŽƌĞĨŝůŝŶŐƚŚŝƐĐĂƐĞĂŶĚƚŚĞĚĂƚĞƐ
                                                     ĂĚĚƌĞƐƐĞƐǁĞƌĞƵƐĞĚ

                               ĚĚƌĞƐƐ                                                     ĂƚĞƐŽĨKĐĐƵƉĂŶĐǇ

KŶĞtĂůĞƐůůĞǇ
                                                                                  ϬϭͬϭϬͬϭϱ                    ϭϮͬϯϭͬϭϲ
ůĞǆĂŶĚƌŝĂ͕sϮϮϯϭϰ
ϭϮϭϭǀĞŶƵĞŽĨƚŚĞŵĞƌŝĐĂƐ͕^ƵŝƚĞϮϳϬϯ
                                                                                  hŶŬŶŽǁŶ                     ϬϲͬϮϭͬϭϲ
EĞǁzŽƌŬ͕EzϭϬϬϯϲ
WƌĞƐŝĚĞŶƚŝĂůdŽǁĞƌƐ
Ϯϱϭϭ:ĞĨĨĞƌƐŽŶĂǀŝƐ,ŝŐŚǁĂǇ͕^ƵŝƚĞϲϮϬ                                           ϬϲͬϬϭͬϭϳ                      WƌĞƐĞŶƚ
ƌůŝŶŐƚŽŶ͕sϮϮϮϬϮ
ϭϵϬϭWĞŶŶƐǇůǀĂŶŝĂǀĞŶƵĞ
                                                                                  Ϭϰͬϭϰͬϭϳ                    ϬϲͬϬϭͬϭϳ
tĂƐŚŝŶŐƚŽŶ͕ϮϬϬϬϲ


  EŽƚĞ͗
  ϭϵϬϭWĞŶŶƐǇůǀĂŶŝĂǀĞŶƵĞǁĂƐƚŚĞĨŽƌŵĞƌůŽĐĂƚŝŽŶŽĨŶĂǆŝ^ŽůƵƚŝŽŶƐ/ŶĐ͕ƐŝŶĐĞŵĞƌŐĞĚǁŝƚŚĂŵďƌŝĚŐĞŶĂůǇƚŝĐĂ>>
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                              /ŶƌĞĂŵďƌŝĚŐĞŶĂůǇƚŝĐĂ>>
                                    ĂƐĞEŽ͘ϭϴͲϭϭϱϬϬ

 ^K&͗WĂƌƚϭϯ͕YƵĞƐƚŝŽŶϮϲĂʹ>ŝƐƚĂůůĂĐĐŽƵŶƚĂŶƚƐĂŶĚďŽŽŬŬĞĞƉĞƌƐǁŚŽŵĂŝŶƚĂŝŶĞĚ
        ƚŚĞĚĞďƚŽƌΖƐďŽŽŬƐĂŶĚƌĞĐŽƌĚƐǁŝƚŚŝŶϮǇĞĂƌƐďĞĨŽƌĞĨŝůŝŶŐƚŚŝƐĐĂƐĞ

              EĂŵĞĂŶĚĚĚƌĞƐƐ                                ĂƚĞƐŽĨƐĞƌǀŝĐĞ
                                            ΀ϭ΁
^>ůĞĐƚŝŽŶƐ>ŝŵŝƚĞĚ;ŝŶĚŵŝŶŝƐƚƌĂƚŝŽŶͿ         &ƌŽŵ͗ϭϬͬϬϭͬϭϲ    dŽ͗WƌĞƐĞŶƚ
ϱϱEĞǁKǆĨŽƌĚ^ƚƌĞĞƚ
>ŽŶĚŽŶ͕tϭϭ^
'ŽůƵď͕>ĂĂƉƌĂ͕tŝůƐŽŵΘĞdŝďĞƌŝƐ>>W            &ƌŽŵ͗ϭϬͬϬϭͬϭϲ    dŽ͗WƌĞƐĞŶƚ
ϮZŽŽƐĞǀĞůƚǀĞŶƵĞ
WŽƌƚ:ĞĨĨĞƌƐŽŶ^ƚĂƚŝŽŶ͕Ezϭϭϳϳϲ
&ƌĞĞŵĂƌŬ&ŝŶĂŶĐŝĂů                                &ƌŽŵ͗ϭϮͬϮϭͬϭϯ    dŽ͗ϭϬͬϬϭͬϭϲ
ϴϯϴϯtŝůƐŚŝƌĞŽƵůĞǀĂƌĚ͕^ƵŝƚĞϭϬϬϬ
ĞǀĞƌůǇ,ŝůůƐ͕ϵϬϮϭϭ


 &ŽŽƚŶŽƚĞ͗
 ΀ϭ΁͗dŚŝƐĞŶƚŝƚǇŝƐŝŶĂĚŵŝŶŝƐƚƌĂƚŝŽŶƉƌŽĐĞĞĚŝŶŐƐŝŶƚŚĞhŶŝƚĞĚ<ŝŶŐĚŽŵĂŶĚsŝŶĐĞ'ƌĞĞŶŽĨƌŽǁĞůĂƌŬtŚŝƚĞŚŝůů>>WŚĂƐďĞĞŶĂƉƉŽŝŶƚĞĚĂƐƚŚĞĂĚŵŝŶŝƐƚƌĂƚŽƌďǇdŚĞ
 ,ŝŐŚŽƵƌƚŽĨ:ƵƐƚŝĐĞ͕ƵƐŝŶĞƐƐĂŶĚWƌŽƉĞƌƚǇŽƵƌƚƐŽĨŶŐůĂŶĚĂŶĚtĂůĞƐ͕ĂŶĚ/ŶƐŽůǀĞŶĐǇĂŶĚŽŵƉĂŶŝĞƐ>ŝƐƚ;ŚͿ͘
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                                 /ŶƌĞĂŵďƌŝĚŐĞŶĂůǇƚŝĐĂ>>
                                       ĂƐĞEŽ͘ϭϴͲϭϭϱϬϬ

 ^K&͗WĂƌƚϭϯ͕YƵĞƐƚŝŽŶϮϲĐʹ>ŝƐƚĂůůĨŝƌŵƐŽƌŝŶĚŝǀŝĚƵĂůƐǁŚŽǁĞƌĞŝŶƉŽƐƐĞƐƐŝŽŶŽĨƚŚĞ
              ĚĞďƚŽƌΖƐďŽŽŬƐŽĨĂĐĐŽƵŶƚĂŶĚƌĞĐŽƌĚƐǁŚĞŶƚŚŝƐĐĂƐĞŝƐĨŝůĞĚ
                                                  /ĨĂŶǇďŽŽŬƐŽĨĂĐĐŽƵŶƚĂŶĚƌĞĐŽƌĚƐĂƌĞ
EĂŵĞĂŶĚĚĚƌĞƐƐ
                                                  ƵŶĂǀĂŝůĂďůĞ͕ĞǆƉůĂŝŶǁŚǇ
^>ůĞĐƚŝŽŶƐ>ŝŵŝƚĞĚ;ŝŶĚŵŝŶŝƐƚƌĂƚŝŽŶͿ ΀ϭ΁      DƵĐŚŽĨƚŚĞĨŝŶĂŶĐŝĂůƌĞĐŽƌĚƐĂƌĞŵŝƐƐŝŶŐ
ϱϱEĞǁKǆĨŽƌĚ^ƚƌĞĞƚ                               ďĞĐĂƵƐĞƚŚĞ/KƐĞŝǌĞĚůĂƉƚŽƉƐĨƌŽŵƚŚĞ
>ŽŶĚŽŶ͕tϭϭ^͕h<                                   ^>ůĞĐƚŝŽŶƐŽĨĨŝĐĞŝŶ>ŽŶĚŽŶ
h</ŶĨŽƌŵĂƚŝŽŶŽŵŵŝƐƐŝŽŶĞƌΖƐKĨĨŝĐĞ               DƵĐŚŽĨƚŚĞĨŝŶĂŶĐŝĂůƌĞĐŽƌĚƐĂƌĞŵŝƐƐŝŶŐ
tǇĐůŝĨĨĞ,ŽƵƐĞ͕tĂƚĞƌ>ĂŶĞ                         ďĞĐĂƵƐĞƚŚĞ/KƐĞŝǌĞĚůĂƉƚŽƉƐĨƌŽŵƚŚĞ
tŝůŵƐůŽǁ͕ŚĞƐŝƌĞ͕^<ϵϱ&͕h<                         ^>ůĞĐƚŝŽŶƐŽĨĨŝĐĞŝŶ>ŽŶĚŽŶ
WĞƚĞƌƌŽǁĞ
ϯŚƵƌĐŚ>ĂŶĞ
EĞǁĐĂƐƚůĞhƉŽŶdǇŶĞ͕EϯϭZ͕h<
sŝŶĐĞŶƚ'ƌĞĞŶΘDĂƌŬEĞǁŵĂŶ
ƌŽǁĞůĂƌŬtŚŝƚĞŚŝůů>>W
ϰDŽƵŶƚƉŚƌĂŝŵZŽĂĚ
dƵŶďƌŝĚŐĞtĞůůƐ͕<ĞŶƚ͕dEϭϭ͕h<


  EŽƚĞ͗
  sŝŶĐĞŶƚ'ƌĞĞŶĂŶĚDĂƌŬEĞǁŵĂŶĂƌĞ:ŽŝŶƚĚŵŝŶŝƐƚƌĂƚŽƌƐŽĨ^>ůĞĐƚŝŽŶƐ>ƚĚ͕^>^ŽĐŝĂů>ƚĚ͕^>ŽŵŵĞƌĐŝĂů
  >ƚĚ͕^>'ƌŽƵƉ>ƚĚĂŶĚĂŵďƌŝĚŐĞŶĂůǇƚŝĐĂ;h<Ϳ>ƚĚ͘

 &ŽŽƚŶŽƚĞ͗
 ΀ϭ΁͗dŚŝƐĞŶƚŝƚǇŝƐŝŶĂĚŵŝŶŝƐƚƌĂƚŝŽŶƉƌŽĐĞĞĚŝŶŐƐŝŶƚŚĞhŶŝƚĞĚ<ŝŶŐĚŽŵĂŶĚsŝŶĐĞ'ƌĞĞŶŽĨƌŽǁĞůĂƌŬtŚŝƚĞŚŝůů>>WŚĂƐďĞĞŶĂƉƉŽŝŶƚĞĚĂƐƚŚĞĂĚŵŝŶŝƐƚƌĂƚŽƌďǇdŚĞ
 ,ŝŐŚŽƵƌƚŽĨ:ƵƐƚŝĐĞ͕ƵƐŝŶĞƐƐĂŶĚWƌŽƉĞƌƚǇŽƵƌƚƐŽĨŶŐůĂŶĚĂŶĚtĂůĞƐ͕ĂŶĚ/ŶƐŽůǀĞŶĐǇĂŶĚŽŵƉĂŶŝĞƐ>ŝƐƚ;ŚͿ͘
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                                                                                        /ŶƌĞĂŵďƌŝĚŐĞŶĂůǇƚŝĐĂ>>
                                                                                              ĂƐĞEŽ͘ϭϴͲϭϭϱϬϬ
 ^K&͗WĂƌƚϭϯ͕YƵĞƐƚŝŽŶϮϵʹtŝƚŚŝŶϭǇĞĂƌďĞĨŽƌĞƚŚĞĨŝůŝŶŐŽĨƚŚŝƐĐĂƐĞ͕ĚŝĚƚŚĞĚĞďƚŽƌŚĂǀĞŽĨĨŝĐĞƌƐ͕ĚŝƌĞĐƚŽƌƐ͕ŵĂŶĂŐŝŶŐŵĞŵďĞƌƐ͕ŐĞŶĞƌĂůƉĂƌƚŶĞƌƐ͕ŵĞŵďĞƌƐŝŶĐŽŶƚƌŽůŽĨƚŚĞĚĞďƚŽƌ͕ŽƌƐŚĂƌĞŚŽůĚĞƌƐŝŶ
                                                                            ĐŽŶƚƌŽůŽĨƚŚĞĚĞďƚŽƌǁŚŽŶŽůŽŶŐĞƌŚŽůĚƚŚĞƐĞƉŽƐŝƚŝŽŶƐ͍

                  EĂŵĞ                                                ĚĚƌĞƐƐ                                     WŽƐŝƚŝŽŶĂŶĚŶĂƚƵƌĞŽĨĂŶǇŝŶƚĞƌĞƐƚ      WĞƌŝŽĚĚƵƌŝŶŐǁŚŝĐŚƉŽƐŝƚŝŽŶŽƌŝŶƚĞƌĞƐƚǁĂƐŚĞůĚ

                                      ĐͬŽĂŵďƌŝĚŐĞŶĂůǇƚŝĐĂ,ŽůĚŝŶŐƐ>>
ZĞďĞŬĂŚDĞƌĐĞƌ                        ŽƌƉŽƌĂƚŝŽŶdƌƵƐƚĞŶƚƌĞ͕ϭϮϬϵKƌĂŶŐĞ^ƚ͕                                ŽĂƌĚŽĨDĂŶĂŐĞƌƐΘsŝĐĞWƌĞƐŝĚĞŶƚ                         ϯͬϲͬϮϬϭϰ                  ϭͬϮϯͬϮϬϭϴ
                                      tŝůŵŝŶŐƚŽŶ͕ϭϵϴϬϭ
                                      ĐͬŽĂŵďƌŝĚŐĞŶĂůǇƚŝĐĂ,ŽůĚŝŶŐƐ>>
:ĞŶŶŝĨĞƌDĞƌĐĞƌ                       ŽƌƉŽƌĂƚŝŽŶdƌƵƐƚĞŶƚƌĞ͕ϭϮϬϵKƌĂŶŐĞ^ƚ͕                                ŽĂƌĚŽĨDĂŶĂŐĞƌƐ                                          ϯͬϲͬϮϬϭϰ                  ϭͬϮϯͬϮϬϭϴ
                                      tŝůŵŝŶŐƚŽŶ͕ϭϵϴϬϭ
ůĞǆĂŶĚĞƌEŝǆ                         ϭϮ^ƚ:ĂŵĞƐΖƐ^ƋƵĂƌĞ͕>ŽŶĚŽŶ^tϭzϰZ͕h<                                ŽĂƌĚŽĨDĂŶĂŐĞƌƐΘK                                    ϯͬϲͬϮϬϭϰ                  ϭͬϮϯͬϮϬϭϴ
ĂŵďƌŝĚŐĞŶĂůǇƚŝĐĂ,ŽůĚŝŶŐƐ>>      ŽƌƉŽƌĂƚŝŽŶdƌƵƐƚĞŶƚƌĞ͕ϭϮϬϵKƌĂŶŐĞ^ƚ͕tŝůŵŝŶŐƚŽŶ͕ϭϵϴϬϭ           ŽŶƚƌŽůůŝŶŐ^ŚĂƌĞŚŽůĚĞƌ                                    ϯͬϲͬϮϬϭϰ                  ϭͬϮϯͬϮϬϭϴ
